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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  LUBBOCK DIVISION

CLINT LONG, INDIVIDUALLY, AND §
N/F OF C.L.                      §
                 Plaintiff,      §
                                 §
v.                               §
                                 §
JAYTON-GIRARD INDEPENDENT        §                    No. 5:21-cv-111
SCHOOL DISTRICT, AND JOHNNY      §
TUB, IN HIS OFFICIAL CAPACITY AS §
SUPERINTENDENT OF JAYTON-        §
GIRARD INDEPENDENT SCHOOL        §
DISTRICT, AND LYLE LACKEY        §
                 Defendants.     §


                       DEFENDANTS’ JOINT NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. § 1331, 28 U.S.C. § 1441, and 28 U.S.C. § 1446, Defendants Jayton-

Girard Independent School District (the “District” or “JGISD”), Johnny Tub (“Tub”), in his official

capacity as the District Superintendent, and Lyle Lackey (“Lackey”) (collectively “Defendants”)

hereby remove to this Court the state court action described herein and respectfully show the Court

as follows:

        1.      State Action: This action was initially filed in the 39th District Court of Kent

County, Texas, on May 6, 2021, Cause No. 1820. Plaintiff is Clint Long, Individually, and N/F of

C.L. (“Plaintiff”). Defendants are JGISD; its former superintendent, Johnny Tubs; and a campus

principal, Lyle Lackey. Defendants have not been served with process, but JGISD independently

received a copy of the filing of the petition and application for a temporary restraining order on or

about May 10, 2021.

        2.      Grounds for Removal: This removal is based on claims arising under federal law.

Plaintiff’s claims include an alleged violation of the Fourteenth Amendment of the U.S.


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Constitution related to JGISD’s mask requirement based on Texas Education Agency guidance.

This Court has original jurisdiction of any civil action arising under the laws of the United States.

28 U.S.C. § 1331. Therefore, this civil action raises a federal question for which this Court has

original jurisdiction and may be removed to this Court by Defendants pursuant to the provisions

of 28 U.S.C. § 1441(a). This Court has jurisdiction over Plaintiff’s entire action pursuant to 28

U.S.C. § 1441(2)(c). Further, this matter is removed to the U.S. District Court for the Northern

District of Texas, Lubbock Division, because this Court is the Court for the district and division

embracing the place where such action is pending, i.e., Kent County, Texas.

        3.      Consent: All Defendants named in the suit have consented to this removal.

        4.      Compliance with Deadline: Defendants, although not formally served with

process, received a copy of Plaintiff’s petition and application for temporary restraining order on

or about May 10, 2021. Formal service is not generally required before a defendant may file a

notice of removal. See Novak v. Bank of N.Y. Mellon Tr. Co., NA., 783 F.3d 910, 914 (1st Cir.

2015). Defendants are filing this notice of removal within the 30-day time period required by 28

U.S.C. § 1446(b). Therefore, this removal is timely. Defendants will promptly file a copy of this

notice of removal with the clerk of the state court in which the action is pending.

        5.      State Court Pleadings: Although Defendants have not been served any process,

pleadings, or orders as described in 28 U.S.C. § 1446(a), a true and correct copy of all pleadings

known to Defendants are attached to this notice.

        ACCORDINGLY, Defendants Jayton-Girard Independent School District, Johnny Tub, in

his official capacity as the District Superintendent, and Lyle Lackey hereby remove this action to

the United States District Court for the Northern District of Texas, Lubbock Division, pursuant to

§ 1441(a) and § 1446 of Title 28 of the United States Code.




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                                             Respectfully submitted,

                                             /s/Brad R. Timms______
                                             Slater C. Elza
                                             State Bar No. 24000747
                                             slater.elza@uwlaw.com
                                             Underwood Law Firm, P.C.
                                             500 S. Taylor, Suite 1200 LB 233
                                             Amarillo, Texas
                                             Tel: (806) 379-0347
                                             Fax: (806) 242-0526

                                             David P. Backus
                                             State Bar No. 01493870
                                             david.backus@uwlaw.com
                                             Underwood Law Firm, P.C.
                                             P.O. Box 16197
                                             Lubbock, Texas 79490
                                             Tel: (806) 793-1711
                                             Fax: (806) 793-1723

                                             Brad R. Timms
                                             State Bar No. 24088535
                                             brad.timms@uwlaw.com
                                             UNDERWOOD LAW FIRM, P.C.
                                             1008 Macon Street, Suite 101
                                             Fort Worth, TX 76102
                                             Tel: (817) 885-7529
                                             Fax: (817) 439-9922

                                             ATTORNEYS FOR DEFENDANT
                                             JAYTON-GIRARD INDEPENDENT SCHOOL
                                             DISTRICT, JOHNNY TUB, IN HIS OFFICIAL
                                             CAPACITY AS THE DISTRICT
                                             SUPERINTENDENT, AND LYLE LACKEY

                                CERTIFICATE OF SERVICE

         I certify that a copy of the foregoing Notice of Removal was served on Plaintiffs, through
their attorney of record, pursuant to the Federal Rules of Civil Procedure on this 11th day of May,
2021.


                                             /s/ Brad R. Timms______
                                             Brad R. Timms




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